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IN THE UNITED STATES DlSTRICT COURT ‘ED ar £7:`§_` D P
FOR THE WESTERN DlSTRICT OF TENNESSEE 05 JUL ""
WESTERN DIvIsIoN 31 4;4 ,0, b 5
OLIVIA MYART, )
)
Plaintiff. )
) Case No. 2:05-CV-2060-B/And
v. )
) JURY DEMANDED
WAL-MART STORES, INC., )
)
Defendant. )
SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference Was set for July 6, 2005. Present Will
be J ames E. King, Jr., counsel for Plaintiff, and Brian A. Lapps, Jr., counsel for Defendants.
Prior to the conference, the following dates Were established as the final dates fort

lNITIAL DISCLOSURES PURSUANT TO Fed. R. Civ. P. 26(a)(l): July 20, 2005

JOINING PARTIES: September 7, 2005

AMENDING PLEADINGS: September 7, 2005

COMPLETING ALL DISCOVERY: February 6, 2006

(a) DOCUMENT PRODUCTION: February 6, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: February 6, 2006

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(c) EXPERT WITNESS DlsCLosURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
lNFORMATION: December 6, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: January 6, 2006

(3) sUPPLEMENTATIoN UNDER RULE 26(@); January 16,
2006

(4) EXPERT WITNESS DEPOSITIONS: February 6, 2006

FILING DISPOSITIVE l\/IOTIONS: March 6, 2006

The Final list of witnesses and exhibits pursuant to Rule 26(a)(3) must be filed with the
Court:

l. For the Plaintiff forty five (45) days before trial; and
2. For the Defendant thirty (30) days before trial.

The Parties shall have ten (10) days after service of the lists of witnesses and exhibits to
file objections under Rule 26(a)(3).

The trial of this matter is expected to last 4 days. The presiding judge will set this matter
for JURY TRIAL. In the event the parties are unable to agree on a joint pretrial order, the
parties must notify the Court at least ten (10) days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of

discovery

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Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if` the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60 shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum Setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

The parties are ordered to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

IT IS SO ORDERED.

<¢:”'é%as dated

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: §§an 0`20. .;Qens/
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AGREED AND APPROVED FOR ENTRY:

 

 

E kins, King & Sevier, P.C.

50 North Front Street, Suite 770
Memphis, Ten.nessee 38103
(90]) 578-6902

Attomey for Plaintiff Olivia Myart

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Brian A. Lapps, Jr.

Waller Lansden Dortch & Davis, PLLC
511 Union Street, Suite 2700
Nashville, TN 37219

(615) 244-6380

Attorneys for Defendant, Wal-Mart Stores, Inc.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CV-02060 was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

ESSEE

 

James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. 1170

l\/lemphis7 TN 38103

Olivia l\/lyart
2498 Winnona Street
l\/lemphis7 TN 38108

Brian A. Lapps

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Honorable Bernice Donald
US DlSTRICT COURT

